
667 S.E.2d 234 (2008)
STATE of North Carolina
v.
Darrell Marcus PAGE.
No. 210P08.
Supreme Court of North Carolina.
August 26, 2008.
Nora Henry Hargrove, Assistant Public Defender, for Page.
Alexandra Hightower, Assistant Attorney General, James C. Gaither, Jr., District Attorney, for State of NC.


*235 ORDER

Upon consideration of the petition filed on the 6th day of May 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
